     Case 2:12-cr-00004-APG-EJY           Document 525         Filed 11/21/13      Page 1 of 4



 1

 2
 3
 4
 5
 6                                  UNITED STATES DISTRICT COURT

 7                                          DISTRICT OF NEVADA

 8
 9     UNITED STATES OF AMERICA,                                     Case No. 2:12-cr-0004-APG-GWF
10                    Plaintiff,
11                                                                 Order Denying [#498] Non-Party
       v.
                                                                  Google, Inc.’s Motion to Quash Trial
12     DAVID CAMEZ, et al.,                                                     Subpoena

13                    Defendants.
14
15
16           In 2011, Google, Inc., produced Gmail communications and other electronically stored
17    records pursuant to a search warrant. Doc. 498-1 at 2. When the Government subpoenaed Google’s
18    custodian of records (“COR”) to testify at trial, Google responded with a single-page, five-paragraph
19    “Certificate of Authenticity” from the COR and a motion to quash the subpoena under Federal Rule
20    of Criminal Procedure 17(c)(2). Docs. 498 and 498-1 at 9. This Court is presented with the narrow
21    question of whether it is unreasonable or oppressive for the Government to require Google’s COR to
22    authenticate these records with live testimony at trial when a certificate of authentication was
23    provided under FRE 902(11). The unique circumstances in this case compel this Court to answer
24    that question in the negative and deny Google’s motion to quash. Doc. 498.
25
      A.     As the Proponent of the Google Records, the Government May Choose to Authenticate
26           Them Through Live Testimony Instead of a Certificate of Authenticity.
27           “Computer records are properly admissible as business records under [Federal Rule of
28    Evidence] 803(6).” U.S. v. Bonallo, 858 F.2d 1427, 1435 (9th Cir. 1988). The Rule excepts

                                                    Page 1 of 4
     Case 2:12-cr-00004-APG-EJY              Document 525         Filed 11/21/13      Page 2 of 4



 1    business records from hearsay exclusion if certain foundational requirements are “shown by the
 2    testimony of the custodian or another qualified witness, or by a certification that complies with Rule
 3    902(11) or (12) . . . .” Fed. R. Evid. 803(6)(D).1 The express language of the Rule gives the
 4    proponent of business records two options for authenticating business-record evidence at trial: the
 5    custodian of records or another qualified witness may offer (1) live testimony or (2) a certificate of
 6    authenticity.2
 7            As the proponent of the Google evidence, the Government has the choice of which method to
 8    use to authenticate these records at trial. With a “bare-bones” certificate of authentication and a
 9    defendant who has placed “hacker” and other online data-infiltration allegations at issue by his
10    defense theories, the Government chooses live trial testimony. Google does not contest that the
11    subpoena was properly issued and served; it contends rather that the Government’s choice of trial
12    testimony over the certificate puts an unreasonable and oppressive burden on Google to comply with
13    the subpoena. The Court disagrees.
14    B.      Compliance with the Subpoena Will Not Be Unreasonable or Oppressive for Google.
15            A trial court may quash a subpoena when the party resisting compliance demonstrates that
16    “compliance would be unreasonable or oppressive.” Fed. R. Crim. Proc. 17(c)(2). The rule:
17                     requires a discretionary, case-by-case inquiry. There is no rule of law that
                       without some particular factor, the government cannot have the subpoena,
18                     or that with it, it can. The factors the district court must consider under
                       Rule 17(c)(2)—unreasonableness and oppressiveness—cannot sensibly
19                     be converted into a mechanical rule enabling an escape from case-by-case
                       judgment.
20
21
             1
22               Prior to 2000, authentication required testimony. Rule 803(6) was amended in 2000 “to add
      that, in lieu of live testimony, the foundation for admissibility of a business record may be established
23    by a certification that complies with Rule 902(11). . . .” U.S. v. Kahre, 610 F. Supp. 2d 1261 (D. Nev.
      2009); see also Fed. R. Evid. 803(6), advisory committee notes (2000).
24            2
                Fed. R. Evid. 902(11); United States v. Lauersen, 348 F.3d 329, 342 (2d Cir. 2003) (quoting
25    5 WEINSTEIN’S FEDERAL EVIDENCE, § 803.08[8][b] for the proposition that “[i]nstead of providing live
      testimony from a custodian or other qualified witness, the proponent of business records may choose to
26    present the foundation by a certification that complies with Rule 902(11),” and holding that business
      record was properly admitted where other qualified witness’ testimony obviated need to authenticate by
27    Rule 902(11) certificate); see also Tongil Co. v. Vessel Hyundai Innovator, 968 F.2d 999, 999–1000
      (9th Cir. 1992) (citing United States v. Catabran, 836 F.2d 456, 456 (9th Cir. 1988), which notes that
28    the burden is on “the proponent of the business records” to “satisfy the foundational requirements of the
      business records exception”).

                                                      Page 2 of 4
     Case 2:12-cr-00004-APG-EJY            Document 525         Filed 11/21/13       Page 3 of 4



 1    United States v. Bergeson, 425 F.3d 1221, 1225 (9th Cir. 2005).
 2           Google contends that compliance would be unreasonable and oppressive because the
 3    Defendant is demanding testimony from Google’s COR “on issues that are either beyond Google’s
 4    knowledge or based on irrelevant speculation.” Doc. 511 at 4. But the Government, not the
 5    Defendant, issued the subpoena, and the Government has represented its intention to seek testimony
 6    from this witness specifically related to the data-storage and retention issues that are likely within the
 7    COR’s knowledge but beyond the “bare-bones” assertions in the certificate of authenticity. See Doc.
 8    512 at 3.3 Defense counsel also noted that he is attempting to procure the appearance of a Google
 9    Person Most Knowledgeable to address issues that may exceed the COR’s likely testimonial
10    limitations. And, of course, relevancy and personal-knowledge objections can be addressed as they
11    come up at trial. Thus, the potential scope of questioning will not likely result in an unreasonable or
12    oppressive experience that justifies quashing the subpoena.4
13           Nor does the potential that testimony will duplicate the information contained in the
14    certificate of authenticity render compliance unreasonable or oppressive or defeat the purpose for
15    which FRE 902(11) was adopted. Doc. 498 at 5; Doc. 511 at 4. Although the certificate method of
16    authenticating business records is a valuable shortcut, the proponent of business records maintains
17    the discretion to authenticate them through live trial testimony. See supra note 1. Nothing in the
18    amended Rule suggests that a COR can opt out of testifying at trial and effectively evade a subpoena
19    merely by providing a Rule 902(11)-compliant certificate of authenticity. Because the
20    representations in the instant certificate are thin and, as the Government asserts, the unique facts and
21    circumstances of this case justify a deeper inquiry into Google’s data-storage and retention policies
22
23
24
25           3
              This distinguishes this case from United States v. Doolittle, 341 F. Supp.163, 169 (M.D. Ga.
26    1972), cited by Google for the proposition that a witness subpoena should be quashed when live
      testimony would be entirely duplicative of the assertions in the authenticating affidavit. Doc. 498 at 5
27    n.2.
             4
28              This decision leaves the resolution of any evidentiary objections to this potential testimony for
      the trial court.

                                                     Page 3 of 4
     Case 2:12-cr-00004-APG-EJY            Document 525        Filed 11/21/13      Page 4 of 4



 1    and practices,5 any potential duplication will be minimal and not a basis to quash.
 2           Finally, the Court is not persuaded by Google’s forecast that failing to quash this subpoena
 3    will do away with the certificate process altogether and cause Google to “send witnesses to each
 4    criminal trial in which its business records are offered as evidence.” Doc. 511. This case involves
 5    sophisticated online computer activity. As Government counsel represented at the hearing on this
 6    motion, the defense theory raises “a parade of horribles” regarding the integrity of the computer data.
 7    The records at issue are “essential” to prove one of the racketeering acts alleged in this case. Doc.
 8    512 at 2. And, most importantly, the proponent of the business-records evidence (the Government)
 9    elects to authenticate that evidence with live testimony instead of a Rule 902(11) certificate, a choice
10    it does not make lightly or often. It is this unique set of circumstances that compels the denial of
11    Google’s motion to quash and limits this ruling to the facts of this case.
12                                                     Order
13           Accordingly, and for all the reasons set forth above, IT IS HEREBY ORDERED that Non-
14    Party Google, Inc.’s Motion to Quash Subpoena to Testify at a Hearing or Trial in a Criminal Case
15    [#498] is DENIED;
16           It is FURTHER ORDERED that Defendant Camez’s motions to join in the Government’s
17    response and Defendant Kostyukov’s response [#505, #515] are GRANTED.
18           DATED: November 21, 2013.
19
                                                    _________________________________
20                                                  JENNIFER A. DORSEY
                                                    UNITED STATES DISTRICT JUDGE
21
22
23
24
25
26
27           5
               This is not to suggest that live authentication testimony is required whenever a defendant
28    “speculates” or makes a bald allegation that business records were altered or are otherwise
      untrustworthy. Doc. 511 at 4. Those are not the facts before this Court.

                                                    Page 4 of 4
